 1                                                                  FILED IN THE
                                                                U.S. DISTRICT COURT

 2
                                                          EASTERN DISTRICT OF WASHINGTON




 3                                                         Oct 02, 2020
                                                               SEAN F. MCAVOY, CLERK
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 5                       UNITED STATES DISTRICT COURT
 6                      EASTERN DISTRICT OF WASHINGTON
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 8 STATE OF WASHINGTON, STATE OF                No. 1:20-CV-03127-SAB
 9 COLORADO, STATE OF
10 CONNECTICUT, STATE OF ILLINOIS
11 STATE OF MARYLAND, STATE OF
12 MICHIGAN, STATE OF MINNESOTA,
13 STATE OF NEVADA, STATE OF NEW
14 MEXICO, STATE OF OREGON, STATE               ORDER GRANTING, IN PART,
15 OF RHODE ISLAND, STATE OF                    DEFENDANTS’ MOTION TO
16 VERMONT, COMMONWEALTH OF                     CLARIFY THE PRELIMINARY
17 VIRGINIA, and STATE OF                       INJUNCTION
18 WISCONSIN,
19        Plaintiffs,
20        v.
21 DONALD J. TRUMP, in his official
22 capacity as President of the United States
23 of America; UNITED STATES OF
24 AMERICA; LOUIS DEJOY, in his official
25 capacity as Postmaster General; UNITED
26 STATES POSTAL SERVICE,
27        Defendants.
28
      ORDER GRANTING, IN PART, DEFENDANTS’ MOTION TO
      CLARIFY * 1
 1          Before the Court is Defendants’ Motion to Clarify the Preliminary
 2 Injunction, ECF No. 83. The motion was heard without oral argument.
 3          Defendants move to clarify the Court’s preliminary injunction, asserting that
 4 some aspects of the Court’s order could be interpreted to cause an overall
 5 degradation in service or create obligations that cannot be fulfilled. In response,
 6 Plaintiffs submitted a proposed Order on which the parties conferred. ECF No. 88-
 7 1. Plaintiffs indicate Defendants do not oppose the entry of Plaintiffs’ proposed
 8 order. ECF No. 88. Good cause exists to grant Defendants’ Motion to Clarify the
 9 Preliminary Injunction, incorporating the language set forth in Plaintiffs’ proposed
10 order.
11          Accordingly, IT IS HEREBY ORDERED:
12          1. Defendants’ Motion to Clarify the Preliminary Injunction, ECF No. 83, is
13 GRANTED in part, and DENIED, in part as follows:
14             a.     Defendants’ proposed clarification to Paragraph 2(a) of the
15             Preliminary Injunction Order is granted, in part. Paragraph 2(a) is
16             clarified to provide that the Postal Service is not required to delay a trip
17             when the impact of the delay will be an overall degradation in service,
18             e.g., in order to prevent a small amount of mail from being delayed if
19             doing so would cause a larger amount of mail to be delayed, but that the
20             Postal Service shall use extra trips to minimize the effect of such delays
21             and to meet service commitments, except when not feasible. “[E]xtra
22             trips that are reasonably necessary to complete timely mail delivery [are]
23             not to be unreasonably restricted or prohibited,” as the Postal Service
24             committed to in its September 21, 2020 memorandum to employees.
25             b.     Defendants’ proposed clarification to Paragraph 2(b) of the
26             Preliminary Injunction Order is granted, in part. Paragraph 2(b) is
27             clarified to provide that the Postal Service is required to ensure that
28       Election Mail “is generally delivered in line with First-Class Mail
     ORDER GRANTING, IN PART, DEFENDANTS’ MOTION TO
     CLARIFY * 2
 1          delivery standards,” as the Postal Service committed to in its September
 2          25, 2020 memorandum to employees, but the Court is not specifying that
 3          Election Mail entered as Marketing Mail be shipped by any particular
 4          means (such as by air). To facilitate this goal, the Postal Service will, as
 5          it has promised, take “extraordinary measures” “between October 26 and
 6          November 24, to accelerate the delivery of ballots, when the Postal
 7          Service is able to identify the mailpiece as a ballot. These extraordinary
 8          measures include, but are not limited to, expedited handling, extra
 9          deliveries, and special pickups as used in past elections, to connect blank
10          ballots entered by election officials to voters or completed ballots
11          returned by voters entered close to or on Election Day to their intended
12          destination (e.g., Priority Mail Express, Sunday deliveries, special
13          deliveries, running collected ballots to Boards of Elections on Election
14          Day, etc.).”
15          c.     Defendants’ proposed clarification to Paragraph 3 of the
16          Preliminary Injunction Order is denied, without prejudice, to the same
17          arguments being raised again in the future.
18       IT IS SO ORDERED. The Clerk of Court is directed to enter this Order
19 and forward copies to counsel.
20       DATED this 2nd day of October 2020.
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                                       Stanley A. Bastian
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                                    United States District Judge
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     ORDER GRANTING, IN PART, DEFENDANTS’ MOTION TO
     CLARIFY * 3
